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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 AMERICAN PUBLIC HEALTH
 ASSOCIATION, et al.,

                        Plaintiffs,
                                                      Case No. 1:25-cv-10787-WGY
                v.

 NATIONAL INSTITUTES OF HEALTH, et
 al.,

                        Defendants.


                     DECLARATION OF SHALINI GOEL AGARWAL

       I, Shalini Agarwal, an attorney admitted to practice before this Court, do hereby state the

following under penalty of perjury, pursuant to 28 U.S.C. § 1746:

       1.      I am an attorney admitted to appear and practice pro hac vice before this court. I

represent Plaintiffs in the above-captioned action.

       2.      I submit this declaration in support of Plaintiffs’ Reply in Support of their Motion

for Preliminary Injunction, pursuant to Federal Rule of Civil Procedure 65.

       3.      The facts set forth herein are based upon my personal knowledge or a review of

the files in my possession.

       4.      I have attached to this declaration true and correct copies of publicly promulgated

or issued documents and factual declarations, as follows:

       5.      Attached hereto as Exhibit 43 is a true and correct copy of a PDF of a National

Institutes of Health (NIH) webpage last updated September 13, 2024 and titled “Contracts.” The

PDF was captured on April 18, 2025. The first citation to Exhibit 16 in the Memorandum of Law

in Support of Plaintiffs’ Motion for Preliminary Injunction (ECF No. 41 at 21) was intended to

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reference the document attached hereto. Plaintiffs inadvertently omitted this exhibit from the

original filing and so attach it here.

        6.      Attached hereto as Exhibit 44 is a February 21, 2025 memorandum titled

“Directive on NIH Priorities” issued by Matthew J. Memoli, Acting Director of NIH.

        7.      Attached hereto as Exhibit 45 is the supplemental declaration of Scott Delaney

and accompanying exhibits.

        8.      Attached hereto as Exhibit 46 is the supplemental declaration of Jeremy Berg and

accompanying exhibits.

        9.      Attached hereto as Exhibit 47 is a true and correct copy of NIH’s current Ruth L.

Kirschstein National Research Service Award Short-Term Institutional Research Training Grant

(Parent T35) funding opportunity, dated March 31, 2025. The previous version of the same

Notice of Funding Opportunity is attached hereto as Exhibit 48, captured from the Wayback

Machine as it appeared on January 22, 2025. A comparison between the two shows that all

mentions of recruitment of individuals from underrepresented communities have been removed

from the current version.

        10.     Attached hereto as Exhibit 49 is a true and correct copy of a PDF of an NIH

webpage last updated March 25, 2025 and titled “Updates to NIH Institutional Training Grant

Applications.” The PDF was captured May 19, 2025.

        11.     Attached hereto as Exhibit 50 is a true and correct copy of ECF No. 276-5 from

Washington v. Trump, No. 2:25-cv-00244-LK (W.D. Wash. 2025), which consists of a March

11, 2025 document with the subject line “Initial Actions Regarding President Trump’s Executive

Orders – INFORMATION.”




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         12.    Attached hereto as Exhibit 51 is a document titled “Research General Terms and

Conditions, Agency Specific Requirements for the National Institutes of Health (NIH)” and

dated April 8, 2021.

         13.    Attached hereto as Exhibit 52 is the supplemental declaration of Plaintiff Nicole

Maphis and accompanying exhibits.

         14.    Attached hereto as Exhibit 53 is a true and correct copy of a May 16, 2025 article

from Nature by Smriti Mallapaty, titled Can NIH-funded research on racism and health survive

Trump’s cuts?

         15.    Attached hereto as Exhibit 54 is the supplemental declaration of Plaintiff Katie

Edwards.



Dated:          May 19, 2025

                Washington, DC


                                                      /s/ Shalini Goel Agarwal
                                                      Shalini Goel Agarwal
                                                      Protect Democracy Project
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                                                      Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2025, a true copy of the above document was filed via

the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of record.




                                                   /s/ Shalini Goel Agarwal
                                                   Shalini Goel Agarwal




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